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                             Exhibit 19
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
        Case 1:01-cv-12257-PBS Document 6791-20 Filed 12/21/09 Page 2 of 3

Rubinfeld, Ph.D., Daniel              CONFIDENTIAL           September 22, 2009
                                      New York, NY

                                                                               Page 1
                 UNITED STATES DISTRICT COURT

            FOR THE DISTRICT OF MASSACHUSETTS

    - - - - - - - - - - - - - - - - X

    In re: PHARMACEUTICAL INDUSTRY

    AVERAGE WHOLESALE PRICE

    LITIGATION

    - - - - - - - - - - - - - - - - X

    THIS DOCUMENT RELATES TO:            MDL No. 1456

    STATE OF CALIFORNIA ex rel.          Master File No.

    VEN-A-CARE v. ABBOTT                 01-12257-PBS

    LABORATORIES, INC., et al.           Subcategory

    Case No. 03-cv-11226-PBS             Case No. 06-11337

    - - - - - - - - - - - - - - - - X

                  C O N F I D E N T I A L

                    September 22, 2009

                          9:23 a.m.

         Videotaped deposition of DANIEL L. RUBINFELD,

    Ph.D., taken by attorneys for Plaintiffs, pursuant

    to notice, held at the offices of White & Case,

    LLP, 1155 Avenue of the Americas, New York, New

    York, before Helen Mitchell, a Shorthand Reporter

    and Notary Public.




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                               New York, NY

                                                                           Page 135
  1
      me ask a different question.
  2
               Q.     Would it be accurate to say that you
  3
      would need some actual or average price information
  4
      about selling prices of Sandoz's drugs in order to
  5
      come up with an appropriate discount off of AWPs to
  6
      end up with an estimate of the price generally and
  7
      currently paid?
  8
               A.     I would say it slightly differently.                          I
  9
      would say that you would need independent
10
      information as to Sandoz invoice prices.                         You
11
      couldn't -- you wouldn't know what discount, if
12
      any, to have off AWP as a benchmark unless you
13
      actually had information about prices actually
14
      paid.
15
                      MS. THOMAS:       I'd like to ask the court
16
      reporter to mark, please, as Rubinfeld Exhibit 1 a
17
      document labeled "Exhibit 3."                 It's a rather
18
      lengthy document, it's a spreadsheet, it does not
19
      have any Bates numbers.
20
                            (Spreadsheet labeled "Exhibit 3"
21
      marked Exhibit Rubinfeld 001 for identification.)
22
               Q.     Do you recognize this document?

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